           Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 1 of 9                 FILED
                                                                               2022 Sep-30 PM 04:49
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

KATHERINE DORR, individually and               )
on behalf of similarly situated persons,       )
                                               )
      Plaintiff,                               )
                                               )
v.                                             )   Case No. _________________
                                               )
NATIONAL REPUBLICAN                            )       CLASS ACTION
SENATORIAL COMMITTEE,                          )   JURY TRIAL DEMANDED
                                               )
      Defendant.                               )

                         CLASS ACTION COMPLAINT

      Plaintiff KATHERINE DORR brings this action against Defendant

NATIONAL REPUBLICAN SENATORIAL COMMITTEE (“NRSC”), both

individually and on behalf of similarly situated individuals (“Class Members”), and

alleges:

                             I.    INTRODUCTION

      1.      This is a putative class action to remedy Defendant NRSC’s scheme

of routinely and knowingly sending automated solicitations for money by spam

text messages in violation of federal law. NRSC’S actions violate the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. §§ 227 et seq.

                II.    PARTIES, VENUE AND JURISDICTION




                                           1
           Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 2 of 9




      2.      Plaintiff KATHERINE DORR (“DORR”) is an adult citizen of the

State of Alabama and a resident of Jefferson County, Alabama. By filing this

action, Plaintiff avails herself of the jurisdiction and venue of this Court.

      3.      Defendant        NATIONAL          REPUBLICAN             SENATORIAL

COMMITTEE (“NRSC”) is a District of Columbia corporation with its principal

place of business located at 425 2ND Street NE, Washington, DC 20002.

Defendant regularly conducts its business across the country, including within the

State of Alabama.

      4.      This Court has federal question jurisdiction under 28 U.S.C. § 1331.

      5.      Venue is proper in this Judicial District pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to

DORR’s claim occurred within this Judicial District.

                        III.   FACTUAL ALLEGATIONS

      6.      Defendant NRSC is a political organization that raises money for

Republican Senatorial candidates.

      7.      Between late summer 2021 and January 2022, NRSC sent text

messages to DORR on her mobile telephone in an effort to solicit political

donations.

      8.      Plaintiff received one of these spam texts on January 13, 2022:




                                           2
           Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 3 of 9




      9.      These generic text messages were obviously pre-written, and contain

links to pre-recorded audio and video messages.

      10.     Plaintiff has no prior association with the NRSC and has never

donated to a Republican political candidate. The factual circumstances of the texts

indicate that NRSC unlawfully placed these texts using an “automatic telephone

dialing system”—a machine that can dial phone numbers automatically as defined

by 47 U.S.C. § 277(b)(1)(A).




                                        3
        Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 4 of 9




      11.   These texts were also made without “the prior express consent” of

DORR. Id. at § 277(b)(1)(B). Plaintiff never consented to or agreed to any

communication with NRSC.

                           IV.   CLASS ALLEGATIONS

      12.   DORR, on behalf of herself and all other similarly situated, re-alleges

paragraphs 1 through 11.

      13.   DORR brings this action as a putative class action against NRSC

pursuant to Rule 23 of the Federal Rules of Civil Procedure.

      14.   The proposed Class is defined as:

            All individuals in the United State who received a call or text
            from NRSC, without prior express consent, on their telephone
            at any time four years prior to the filing of this complaint.

      15.   DORR seeks to recover damages on a class wide basis for herself and

Class Members as set forth below.

      16.   Numerosity. Class Members are so numerous that joinder of all

members of each class is impracticable. DORR is unable to state the exact number

of Class Members because that information is solely in NRSC’S possession. Upon

information and belief, the putative Class exceeds hundreds if not thousands of

nationwide individuals.

      17.   Common Questions of Fact and Law. Questions of fact and law that

are common to each Class regarding NRSC’S uniform illegal conduct predominate



                                        4
        Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 5 of 9




over any questions affecting only individual members of each class. For example,

these common questions include, but are not limited to:

           Whether NRSC violated the TCPA by using an autodialer to
      send text messages to consumers seeking to solicit donations;
          Whether DORR and the Class Members are entitled to actual
      damages;
          Whether DORR and the Class Members are entitled to treble
      damages; and
           Whether DORR and the Class Members are entitled to
      injunctive relief.

      18.   Typicality. DORR’s claims are typical of each Class and the class

action method is appropriate for the fair and adequate prosecution of this action.

This case arises from the uniform conduct of NRSC and is based on NRSC’S

violations of federal statutes. The conduct and circumstances of individual class

members is largely irrelevant. Because these claims arise from uniformly unlawful

conduct, DORR’ claims are typical of each class.

      19.   Adequacy. DORR is an adequate representative of each Class

because her interests do not conflict with the interests of each Class—they all seek

redress for the same unlawful conduct. Further, DORR retained Counsel competent

and highly experienced in complex class action litigation, and they intend to

prosecute this action vigorously. The interests of each Class will be fairly and

adequately protected by DORR and her counsel. DORR’ claims, like those of each

class, are antagonistic to NRSC.


                                         5
        Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 6 of 9




      20.    Predominance. Common questions of fact and law predominate over

any questions affecting individual Class Members.

      21.    Superiority. A class action is superior to other available means of fair

and efficient adjudication. The injury suffered by each individual is relatively

small in comparison to the burden and expense of individual prosecution of the

complex and extensive litigation necessitated by NRSC’s conduct. It would be

impracticable for each Class Member to seek redress individually for the wrongful

conduct alleged herein because the cost of such individual litigation would be cost

prohibitive. Moreover, even if the Class Members could afford such individual

litigation, the court system could not. Individualized litigation increases the delay

and expenses to all parties, and to the court system, by the complex legal and

factual issues of the case. By contrast, the class action device presents far fewer

management difficulties, and provides the benefits of single adjudication,

economies of scale, and comprehensive supervision by a single court.

                           V.    CAUSES OF ACTION

                                  COUNT I
                      Telephone Consumer Protection Act
                              (47 U.S.C. § 227)

      22.    DORR, on behalf of herself and all others similar situated, re-alleges

paragraphs 1 through 21.




                                         6
         Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 7 of 9




      23.    According to the TCPA, “it shall be unlawful for any person within

the United States, or any person outside the United States if the recipient is within

the United States (A) to make any call (other than a call made for emergency

purposes or made with the prior consent of the called party) using any automatic

telephone dialing system or an artificial or pre-recorded voice --- (iii) to any ….

Cellular telephone service, … unless such call is made solely to collect a debt

owed to or guaranteed by the United States.” 47 U.S.C. § 227(b)(A)(iii).

      24.    The spam texts at issue are considered “calls” under the TCPA.

      25.    Upon information and belief, NRSC used an “automatic telephone

dialing system” (“ATDS” or “autodialer”) as defined by 47 U.S.C. § 227(a)(1) to

place its calls/texts to DORR seeking to solicit its services.

      26.    NRSC’s calls/texts were not for an emergency purpose as defined by

47 U.S.C. § 227(b)(1)(A).

      27.    During all relevant times, NRSC did not possess DORR’ “prior

express consent” to receive calls/texts using an autodialer and artificial/prerecorded

voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

      28.    Each of the aforementioned calls/texts made by NRSC constitute a

negligent or intentional violation of the TCPA, including each of the

aforementioned provisions of 47 U.S.C. §§ 227 et seq.




                                           7
        Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 8 of 9




      29.      As a result of NRSC’S violations of the TCPA, DORR is entitled to

an award of $500 in statutory damages, for each and every violation, pursuant to

47 U.S.C. § 227(b)(3)(B).

      30.      As a result of NRSC’S knowing and/or willful violations of the

TCPA, DORR is entitled to an award of treble damages in an amount of up to

$1,500.00 for each and every violation of the TCPA pursuant to 47 U.S.C. §

227(b)(3)(C).

      31.      Additionally, as a result of NRSC’S violations of the TCPA, DORR is

entitled to injunctive relief as provided under 47 U.S.C. § 227(b)(3)(A) and 47

U.S.C. § 227(c)(5)(A), enjoining NRSC from further contacting DORR seeking

payment of the subject debt, and from further credit reporting of the subject debt.

                           VI.   PRAYER FOR RELIEF

      WHEREFORE, DORR individually, and on behalf of the class, pray that

this Honorable Court enter an Order and Judgment:

            a. Certifying this action as a class action as provided by Fed. R.
               Civ. P. 23;

            b. Finding NRSC violated the TCPA and awarding DORR and
               Class Members statutory damages pursuant to 47 U.S.C. §
               227(b)(3)(B), treble damages pursuant to 47 U.S.C. §
               227(b)(3)(C), and injunctive relief pursuant to 47 U.S.C. §
               227(b)(3)(A) and 47 U.S.C. § 227(c)(5)(A); and

            c. Awarding such other and further relief as the Court may deem
               just and proper.



                                          8
        Case 2:22-cv-01271-SGC Document 1 Filed 09/30/22 Page 9 of 9




                           VII. JURY DEMAND

     DORR demands a trial by struck jury on all issues so triable.

                                           Respectfully submitted,

Date: September 30, 2022                   /s Adam W. Pittman
                                           Adam W. Pittman
                                           (ASB-0146-A33P)
                                           CORY WATSON, P.C.
                                           2131 Magnolia Avenue, Suite 200
                                           Birmingham, AL 35205
                                           (205) 328-2200
                                           (205) 324-7896, fax
                                           apittman@corywatson.com

TO CLERK: PLEASE SERVE DEFENDANT VIA CERTIFIED MAIL:

National Republican Senatorial Committee
c/o Cogency Global, Inc.
1025 Connecticut Ave. NW, Suite 712
Washington, DC 20036




                                       9
